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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                           Plaintiff,            CR. NO. 17-20574
v.
                                                 HON. VICTORIA A. ROBERTS
JOSE G. TORRES,

                    Defendant.
_________________________________________/

                         SENTENCING MEMORANDUM

                                            I.

      On November 20, 2017, Mr. Torres pled guilty to Count Two of the Indictment

charging him with Coercion and Enticement of a Minor. A Presentence Report was

prepared and the advisory sentencing guidelines are 135 to 168 months - the same as

contemplated by the parties in the Rule 11 Plea Agreement. Neither side has filed any

objections to the Presentence Report. There is a mandatory minimum sentence of 10

years. The Court should impose a sentence that is sufficient but not greater than

necessary to fullfill the sentencing goals of the statute. In the present case, a sentence

of ten years is probably greater than necessary but the Court has no choice.
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                                         II.

Nature & Circumstances of the Offense

      Between August 1, 2015 and April 30, 2016, Mr. Torres and the 14 year old

minor female exchange literally thousands of text messages. During that time Mr.

Torres requested and received THREE nude photographs of the girl. It has been

some time since defense counsel viewed the photographs, but he does not believe that

the nude photographs included the girls’ face. At any rate, Mr. Torres did not re-

publish the nude photographs on the internet or anywhere else. Mr. Torres, who lived

in Florida at the time, did not travel or attempt to travel to Michigan to meet the

minor girl. Nor did he attempt to persuade the minor female to travel to Florida to

meet with him. It is defense counsel’s view that a ten year sentence for THREE nude

photographs is more than sufficent in the present case.

History & Characteristics of Mr. Torres

      Mr. Torres is 39 years old. He has no prior convictions of any kind. He is

married and has three children. A fourth child died in 2010 from SIDS. Mr. Torres

was separated from his wife at the time he engaged in the present offense. Mr. Torres

has tried to maintain employment his entire life. He dropped out of school in the

eleventh grade in order to work. Mr. Torres does not use drugs and drinks alcohol

only occasionally.

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      Mr. Torres is not a citizen of the United States. He is a valid green card holder,

but he is a citizen of Venezuela. Accordingly, in addition to the sentence to be

imposed by the Court, Mr. Torres will no doubt be deported upon his release from

prison. This is an additional collateral consequence that Mr. Torres will suffer that

other similarly situated defendants will not suffer.

Miscellaneous

      The mandatory ten year sentence will reflect the seriousness of the offense,

promote respect for law and provide just punishment. A ten year sentence will afford

adequate deterrence and protect the public from further crimes of the defendant.

                                         III.

      For the foregoing reasons we request a sentence of ten years.

                                                Respectfully submitted,

                                                FEDERAL DEFENDER OFFICE


                                                s/Richard M Helfrick
                                                RICHARD M. HELFRICK (P33323)
                                                Attorney for Defendant
                                                613 Abbott, 5th Floor
                                                Detroit, Michigan 48226
                                                (313) 967-5867

Dated: February 26, 2018




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                          Plaintiff,          CR. NO. 17-20574
v.
                                              HON. VICTORIA A. ROBERTS
JOSE G. TORRES,

                    Defendant.
_________________________________________/

                         CERTIFICATE OF SERVICE

      I hereby certify that on February 26, 2018, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system which will send notification
of such filing to the following:

                                 Matthew Roth
                                 Margaret M. Smith
                                 Assistant U.S. Attorneys
                                 211 W. Fort St., Ste. 2001
                                 Detroit, MI 48226


                                              FEDERAL DEFENDER OFFICE


                                              s/Richard M Helfrick
                                              RICHARD M. HELFRICK (P33323)
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                                              613 Abbott, 5th Floor
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